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                        IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MINNESOTA

                                             CIVIL JURY TRIAL
Katie J. Felder, as trustee for the next of kin                          COURT MINUTES
of Dominic Aries Felder                                           Case Number: 07-4929(DSD/JJK)
                                 Plaintiff,
        v.                                              Date:                 October 20, 2010
                                                        Court Reporter:       Ron Moen
Jason King, individually, et al.                        Time:                 9:00 a.m.-12:30 p.m.
                               Defendants.                                    2:00 p.m.-5:00 p.m.
                                                        Time in Court:        6 Hours & 30 Minutes

Trial before David S. Doty, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

    For Plaintiff:      James Behrenbrinker & Douglas Micko
    For Defendant:      Timothy Skarda & Sara Lathrop

PROCEEDINGS:

    : JURY Trial Held.
    : Plaintiff’s witnesses: Continued with Richard Ernest via videotape. Fred Robinette, Katie Felder &
      Tenecia Johnson.
    : Defendant’s witnesses: Sgt. Todd Sauvageau, Officer Emily Lehner, Officer Brian Grahme & Officer
      Jason King.
    : Plaintiff rests.    9 Defendant rests.
    : Trial continued to 10/21/2010 at 9 a.m.

CLERK'S USE ONLY:

    9 Number of trial days with evidence - .
    9 Exhibits returned to counsel or parties.

                                                                                             s/C.B.
                                                                                           Calendar Clerk
